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 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF FLORIDA

                                  TALLAHASSEE DIVISION

J.L.,
        Plaintiff,

        v.                                                           CASE NO.:

PAMELA STEWART, in her capacity as FLORIDA
    COMMISSIONER of EDUCATION; and GED TESTING SERVICE, LLC,

        Defendants.

              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff registered to take the GED exam in August 2011, and again in June 2013, and
requested a reasonable accommodation in the manner in which the GED is administered: extra
time on all reading portions of the exam. This accommodation was, and is, necessary to ensure
that the GED is accessible to the Plaintiff who has a learning disability. In her requests for
accommodation, Plaintiff fully complied with GED policy, including provision of a
psychologist’s documentation of her need for accommodation. Defendants denied this
reasonable accommodation in direct contravention of the established diagnostic criteria in this
field. The unwillingness of the Defendants to allow this accommodation is a violation of both
the Americans with Disabilities Act (ADA) and Section 504 of the Rehabilitation Act (504).


                                    JURISDICTION AND VENUE
    1. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. Plaintiff’s
        federal claims are made pursuant to the Americans with Disabilities Act, 42 U.S.C. §
        12101 et seq., and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794 et. seq.
    2. Appropriate declaratory relief is authorized pursuant to 28 U.S.C. §§ 2201 and 2202; 29
        U.S.C. § 794.
    3. Venue in this District is proper under 28 U.S.C. § 1391(b)(2) in that the acts of
        discrimination complained of occurred in this District.
    4. Monetary damages alone are inadequate, and Plaintiff has been suffering and will continue
        to suffer irreparable harm from Defendants' actions, policies, and procedures, and from the

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       violations of the laws complained of herein; accordingly, declaratory and injunctive relief
       is necessary and appropriate.
   5. All of the defendants and their agents and employees act under color of state law.



                                            PARTIES

   6. Plaintiff is an individual residing in Jacksonville, Florida. Plaintiff has a diagnosed
       learning disability and has made two requests for accommodation on the GED.
   7. Defendant, Pamela Stewart is the Commissioner of the Florida Department of Education
       (FDOE) and is being sued in her official capacity. FDOE is the chief educational entity
       in the state of Florida and is responsible for the creation of opportunities for completion
       of the GED. See Fla. Stat. § 1004.93.
   8. FDOE contracts out much of the responsibility for administering the GED to a contractor,
       GED Testing Service, LLC.
   9. Plaintiff graduated from Terry Parker High School in Jacksonville, Florida in June 2009
       with a special diploma. Plaintiff had attended special education classes throughout most
       of her tenure in elementary and high school and received specific accommodations
       because of her documented learning disabilities.
   10. As set forth in the affidavit of Patrick Hughes, Psy.D., [Exhibit 1], Plaintiff has a specific
       learning disability, which specifically affects her reading ability.
   11. Following her graduation from high school, because Plaintiff is well aware that her future
       professional career requires the foundation of a GED1 , Plaintiff began preparing to take
       the GED, going as far as to take a GED preparation course.


Requests to Defendants for GED Special Testing Conditions
First Request - July 2011

   12. On July 11, 2011, Plaintiff submitted a request for special testing conditions pursuant to
   1
      GED is a trademarked acronym used for the General Educational Development Tests, a battery
of examinations administered by states and jurisdictions to measure the skills and knowledge similar
to a high school course of study. [http://www.gedtestingservice.com/testers/faqs-test-
taker#GED_stand_for - 2013]


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      the GED Accommodations Request procedures.
   13. Plaintiff provided documentation of disability in the form of an evaluation from Dr.
      Balente, dated July 9, 2008.
   14. Dr. Balente’s evaluation found that Plaintiff had a disability as that term is defined within
      the ADA and its implementing regulations., and he recommended that Plaintiff be given
      extra time as an accommodation on the GED exam.
   15. On August 26th, 2011, Defendants issued a notice denying JL.’s request for
      accommodations. Defendants denied the request based on the lack of a significant
      discrepancy between her achievement and intelligence scores. [Exhibit 2]
   16. Plaintiff took the GED on December 9, 2011 without the requested accommodations and
      succeeded in passing the Language Arts/Writing section, but failed the Social Studies,
      Reading, Mathematics and Science portions.


Second Request – June, 2013
   17. On May 27, 2013, Dr. Patrick Hughes, Ed.S., conducted a psychological evaluation of
      J.L., assessing her specific disabilities as well as what, if any, accommodations could be
      provided to ensure that her GED test would measure her knowledge and skills and not her
      disability.
   18. Dr. Hughes’ evaluation included a review of J.L.’s educational history, evaluations,
      assessments and reports, and he administered several nationally accredited standardized
      tests. This comprehensive evaluation [Exhibit 3], ended with Dr. Hughes’ conclusion
      that Plaintiff “presents as a student with a specific learning disability in reading.”
   19. In his conclusion to this evaluation, Dr. Hughes specifically requested that Plaintiff be
      given extra time for the reading portion of any exam. As a person with a disability, this
      accommodation was necessary to ensure Plaintiff a fair and equal opportunity to perform
      on the Florida 2013 GED.
   20. According to Dr. Hughes, without this accommodation of extra time,, Plaintiff would not
      be afforded an equal opportunity to demonstrate her knowledge and ability; instead the
      test would be measuring her disability.
   21. On June 26, 2013, Plaintiff submitted her application for the GED, including her request
      for accommodations and all documentation for that accommodation request as required

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   by GED.
22. In a notice letter dated August 21, 2013, Defendants notified Plaintiff her request for an
   accommodation was denied. [Exhibit 4] Plaintiff was specifically denied the
   accommodation for extra time because:
   According to a 2008 report, the candidate's WAIS-111 scores were all consistent
   with borderline intellectual functioning. Interestingly, the examiner then diagnosed
   her with reading and math disabilities despite the fact that her achievement scores
   were commensurate with her intellect and her overall history.

   In her most recent evaluation (May 25, 2013), the candidate's WAIS-IV IQ scores
   seemed substantially higher than any prior testing. Her achievement test
   scores were highly consistent with all her prior testing and do not appear discrepant from her
   intellectual scores. There is no significant difference between her performance on
   measures of intellectual functioning and academic achievement.

                                          CLAIMS FOR RELIEF

             COUNT I: DISCRIMINATION BASED ON VIOLATION OF THE
                       AMERICANS WITH DISABILITIES ACT
                          42 U.S.C.A. § 12132 [ADA § 202]

23. Plaintiff incorporates and re-alleges paragraphs 1-22, as if fully set forth herein.
24. This count is brought pursuant to Americans with Disabilities Act (ADA). 42 U.S.C.
   §12131 et seq., and Section 504. At all times relevant to this action, Defendants have
   acted under color of state law.
25. The ADA, 42 U.S.C.A. § 12132, prohibits public entities, such as the Defendants, from
   discriminating against a qualified individual with a disability in the provision of services,
   programs, or activities. In addition, § 12132 [ADA § 202] prevents a public entity from
   excluding a person with a disability from participation in or receipt of the benefit of its
   services, programs, or activities. The Americans with Disabilities Act's implementing
   regulations further provide that "a public entity may not, directly or through contractual
   or other arrangements, utilize criteria or other methods of administration: (i) that have the
   effect of subjecting qualified individuals with disabilities to discrimination on the basis of
   disability; [or] (ii) that have the purpose or effect of defeating or substantially impairing
   accomplishment of the objectives of the entity's program with respect to individuals with
   disabilities..." 28 C.F. R. §35.130(b)(3).

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26. Plaintiff is a qualified individual with a disability because she has an impairment—a
   learning disability that substantially limits two of her major life functions: learning and
   working.
27. Plaintiff has met the essential eligibility requirements to take the GED in Florida.
28. Plaintiff requires the reasonable accommodation set forth in Dr. Patrick Hughes’ May 27,
   2013 evaluation and in his November 7, 2013 affidavit to allow her to have an equal
   chance of passing the GED.
29. Despite Plaintiff's request for accommodations based on her disability, the Defendants
   have refused to grant the accommodation necessary to ensure that the GED is
   administered in a manner accessible to a person with learning disabilities.
30. Accordingly, the Defendants have discriminated against Plaintiff, by excluding her from
   participation and denying her the benefits of the GED. This discrimination and denial of
   benefits is solely attributable to Plaintiff's disability. By refusing to provide the requested
   accommodations, the Defendants have violated 42 U.S.C.A. § 12132 [ADA § 202].
31. The Defendants' violation of the ADA has caused immediate and irreparable injury to
   Plaintiff, including jeopardizing her ability to take the GED in a fair and reasonable
   manner and to provide her with the same opportunity to pass the GED as is provided to
   individuals who are not disabled.
32. The Defendants' violation also has damaged Plaintiff's access to an equal opportunity for
   passing the current GED exam. She already has successfully passed one portion of it and,
   if she is permitted to take the remainder of the current GED with appropriate
   accommodations before the end of 2013, she has a fair chance of passing the remaining
   sections. Because the GED exam will be a completely new exam beginning in January 1,
   2014, and will address topics that were not covered when Plaintiff was in high school and
   in GED preparatory courses, and because she will have to begin over and take the entire
   exam again, including the section she already has passed in the current exam, Plaintiff
   will suffer irreparable harm if she is not permitted to take the exam with accommodations
   before the end of this year.


               COUNT II: DISCRIMINATION BASED ON VIOLATION OF
                   SECTION 504 OF THE REHABILITATION ACT
                               29 U.S.C. § 794 et. seq.

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   33. Plaintiff adopts and re-alleges the allegations contained in the preceding Paragraphs 1-22
       as if fully stated herein.
   34. Plaintiff brings this claim against Defendant based upon the Rehabilitation Act, 29 U.S.C.
       §794, et. seq. and its implementing regulations at 34 C.F.R. Part 104.
   35. The Rehabilitation Act provides that: No otherwise qualified individual with a disability
       in the United States, as defined in section 705(20) of this title, shall, solely by reason of
       her or his disability, be excluded from the participation in, be denied the benefits of, or be
       subjected to discrimination under any program or activity receiving Federal financial
       assistance or under any program or activity conducted by any Executive agency or by the
       United States Postal Service. 29 U.S.C.A. § 794.
   36. Defendant is a covered program or activity for purposes of §504 as a Department of the
       state of Florida that receives Federal funds and also distributes such funds to local school
       districts and other entities. 29 U.S.C.A. § 794(b)(1)(A) & (B).
   37. As set forth herein, Defendant has violated the Rehabilitation Act by refusing to, “make
       such modifications to its academic requirements as are necessary to ensure that such
       requirements do not discriminate or have the effect of discriminating, on the basis of
       handicap, against a qualified handicapped applicant or student…” 45 C.F.R. § 84.44


                                     RELIEF REQUESTED
   WHEREFORE, Plaintiff requests this Court to enter judgment on her behalf as follows:
1. Issue a declaratory judgment and a preliminary and permanent injunction to immediately
   enjoin Defendants to extend to Plaintiff the accommodations recommended in her May 2013
   evaluation in the manner of taking the November or December, 2013 Florida GED and any
   future GEDs;
2. Preliminarily and permanently enjoin Defendants to submit plans to the Court for
   implementation of the aforesaid;
3. Award Plaintiff the costs of bringing this action and reasonable attorneys' fees;
4. Retain Jurisdiction over this action to ensure Defendants’ compliance with the mandates of
   the ADA and Section 504 of the Rehabilitation Act; and
5. Grant Plaintiff such other relief as the Court may deem appropriate.

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Submitted, this 12th day of November, 2013.

                                              DISABILITY RIGHTS FLORIDA

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                                CERTIFICATE OF SERVICE


I certify that a true and correct copy of the foregoing was furnished by USPS and CM/ECF to all

Parties this 12th day of November, 2013.




                                                          /S/_________________________
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